OPINION — AG — ** CONFLICT OF INTEREST — BARBER BOARD ** AN INDIVIDUAL WHOSE BROTHER OWNS AND OPERATES A BARBER COLLEGE IS DISQUALIFIED FROM ELIGIBILITY FOR MEMBERSHIP ON THE STATE BOARD OF BARBER EXAMINERS BY OPERATION OF 59 O.S. 85 [59-85] (BOARD OF BARBER EXAMINERS, BARBER COLLEGE, ADVERSE OF PECUNIARY INTEREST, BROTHER AND SISTERS, PUBLIC OFFICERS ** CITE: 59 O.S. 85 [59-85], 59 O.S. 88 [59-88], 74 O.S. 1401 [74-1401], 74 O.S. 1402 [74-1402] (ETHICS) (JAMES B. FRANKS)